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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                           CR-13-65-GF-BMM

                  Plaintiff,

        vs.
                                                 ORDER CLARIFYING
 FRANCIS KAY ONSTAD, DELYLE                  APPLICATION OF RESTITUTION
 SHANNY AUGARE, GARY JOSEPH                          PAYMENTS
 CONTI, DOROTHY MAY STILL
 SMOKING, KATHERYN
 ELIZABETH, CHARLOTTE NEW
 BREAST,

                  Defendants.



      The Court ordered Defendants Onstad, Augare, Conti, Still Smoking,

Elizabeth, and New Breast to pay restitution to Substance Abuse and Mental

Health Services Administration (“SAMHSA”), jointly and severally, in various

amounts. (Doc. 321 in CR-13-65-6.) $1,000,000 represented the total amount of

restitution originally owing to SAMHSA. (Doc. 400 at 2.) The Court ordered

Defendant New Breast to pay $50,000 of the $1,000,000 owing to SAMHSA,

jointly and severally, with other defendants. New Breast paid the full $50,000 to

the Court.


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      The Clerk of Court in the United States District Court for the District of

Montana has a policy that a restitution payer is refunded funds that exceed the

amount of joint and several liability the Court ordered her or him to pay. Other

Defendants in this case had paid restitution payments before New Breast made her

$50,000 payment, thus warranting a refund to New Breast in the amount of

$18,371.67 under the Clerk of Court’s policy. The Court sees no reason to disturb

this policy. New Breast proved the least culpable defendant in this case. It strikes

the Court as fair that $18,371.67, of her joint and several restitution responsibility

will be excused. The amount owing to SAMHSA by the other Defendants will not

change.

      Accordingly, IT IS ORDERED:

          1. The Clerk of Court shall issue a refund of $18,371.67, to Charlotte

              New Breast.

          2. The Clerk of Court shall continue its policy with regards to discharge

              of responsibilities under joint and several liability.

      Dated this 27th day of June, 2017.




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